Case 1:15-cv-00793-PLM-PJG ECF No. 82, PageID.3324 Filed 02/27/20 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


INNOVATIVE ACCOUNTING SOLUTIONS,
INC.,

                Plaintiff,
                                                             File No. 1:15-CV-793
v.
                                                             HON. PAUL L. MALONEY
CREDIT PROCESS ADVISORS, INC. et al.,

                Defendants.
                                                  /

                                              ORDER

         In accordance with the Opinion entered this date,

         IT IS ORDERED that the motion for summary judgment by Defendants Scott Renner and

Velo Legal Services, PLC (ECF No. 49) is GRANTED.

         IT IS FURTHER ORDERED that Defendants Renner and Velo Legal Services, PLC are

DISMISSED WITH PREJUDICE.




Dated:     February 27, 2020                          /s/ Paul L. Maloney
                                                      Paul L. Maloney
                                                      United States District Judge
